           Case 2:08-cr-00212-TLN Document 306 Filed 05/11/09 Page 1 of 3


 1   John R. Manning
     Attorney at Law
 2   Ca. St. Bar No. 220874
     1111 H Street, Suite 204
 3   Sacramento, CA 95814
     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   Damone Block

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )         CR NO. S-08-212 LKK
                                   )
11             Plaintiff,          )         STIPULATION AND
                                   )         ORDER CONTINUING
12        v.                       )         STATUS CONFERENCE
                                   )
13   DAMONE BLOCK,                 )
                                   )         Date:   5/5/09
14             Defendant.          )         Time:   9:15 a.m.
     ______________________________)         Judge: Hon. Lawrence K.
15                                           Karlton

16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Mary L. Grad, Assistant United
18
     States Attorney, together with counsel for defendant Damone
19
     Block, John R. Manning, Esq., that the status conference
20
     presently set for May 5, 2009 be continued to June 9, 2009, at
21
     9:15 a.m., thus vacating the presently set status conference.
22
          The parties stipulate that the ends of justice are served by
23
     the Court excluding such time, so that counsel for the defendants
24
     may have reasonable time necessary for effective preparation,
25
     taking into account the exercise of due diligence. 18 U.S.C. §
26
     3161(h)(8)(B)(iv). Specifically, the requested continuance is to
27
     allow the parties time to work out details of the plea agreement.
28
                                         1
           Case 2:08-cr-00212-TLN Document 306 Filed 05/11/09 Page 2 of 3


 1   The parties stipulate and agree that the interests of justice

 2   served by granting this continuance outweigh the best interests

 3   of the public and the defendant in a speedy trial. 18 U.S.C. §

 4   3161(h)(8)(A).

 5
     IT IS SO STIPULATED.
 6

 7
     Dated: April 28, 2009                      /s/ John R. Manning
 8                                             JOHN R. MANNING
                                               Attorney for Defendant
 9                                             Damone Block

10
     Dated: April 28, 2009                  Lawrence G. Brown
11                                          United States Attorney

12
                                         by:     /s/ Mary L. Grad
13                                             MARY L. GRAD
                                               Assistant U.S. Attorney
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
           Case 2:08-cr-00212-TLN Document 306 Filed 05/11/09 Page 3 of 3


 1                   IN THE UNITED STATES DISTRICT COURT

 2                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,       ) Case No. CR.S-08-212 LKK
                                     )
 5                  Plaintiff,       )
                                     )
 6        v.                         ) ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
 7   DAMONE BLOCK,                   )
                                     )
 8                  Defendant.       )
     _______________________________ )
 9

10        GOOD CAUSE APPEARING, it is hereby ordered that the

11   May 5, 2009 status conference be continued to June 9, 2009 at

12   9:15 a.m.   I find that the ends of justice warrant an exclusion

13   of time and that the defendant’s need for continuity of counsel

14   and reasonable time for effective preparation, exceeds the public

15   interest in a trial within 70 days.       THEREFORE IT IS FURTHER

16   ORDERED that time be excluded pursuant to 18 U.S.C. §

17   3161(h)(8)(B)(iv) and Local Code T4 from the date of this order

18   to June 9, 2009.

19

20   IT IS SO ORDERED.

21   Dated: May 5, 2009

22

23

24

25

26

27

28
                                         3
